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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

 U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION,                  CIVIL ACTION
     PLAINTIFF,                                                 NO. 20-02511

 V.                                                             JUDGE FELDMAN

 HOLLINGSWORTH RICHARDS, LLC,                                   MAGISTRATE JUDGE
 D/B/A HONDA OF COVINGTON,                                      DOUGLAS
      DEFENDANT.

                          EEOC’S WITNESS & EXHIBIT LISTS

        Pursuant to the Court’s scheduling order (ECF No. 11), the plaintiff, U.S.

Equal Employment Opportunity Commission (“EEOC”), hereby submits the

following list of witnesses who may or will be called to testify at trial and all

exhibits that may or will be used at trial. The EEOC submits these lists based on

material and information that is presently available to it. Because discovery in this

case is ongoing, the EEOC reserves the right to amend or supplement the following

lists. By listing a witness, the EEOC does not waive any objection to the calling or

testimony of the witness at any hearing or the trial in this action. By listing an

exhibit—or category of exhibits—the EEOC does not waive any objection to the

introduction or use of the exhibit by any other party in any hearing or at the trial in

this action.

                                     WITNESS LIST

              Anyone referenced in any witness list, the record, any disclosure, any
               deposition, any hearing, any trial, any affidavit, any declaration, any




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       discovery request or response, any subpoena or subpoena response,
       and in any production in this action, including but not limited to:

          Megan Accardo

          Garrett Max Blades

          Gregory Bourgeois

          Brandi Bourgeois

          Peggy Bridges

          William Brown

          Jan Bruckmeier

          Tim Buechele

          Jacob Burger

          Adam Burtsell

          Kaitlyn Byers

          Clay Clement

          Wade Copeland

          Marshall Core

          Cameron Darby

          Neil Dash

          Mason Diaz

          Mike Dinapolis

          Brett Dourrieu

          Daniel Dufrene

          Sage Dufrene

          Susan Farlouis

          Robert Gill

          Carolyn & Donald
           Gratia
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          Courtney Guillen

          Christopher Guillet

          Joseph "Kyle" Harrington

          Harley Helton

          Austin Isbell

          Branden Jackson

          Shelly Jordan

          Tracy Kerher

          Robert Kirby

          Noelle Link

          Justin Lockhart

          Laurie McCants

          Harley Melton

          Kyle Mitchell

          William Purvis

          Joshua Rainwater

          Nancy Richardson

          Rachelle Rispol

          Jamie Schaefer

          Angel Scott

          Ariel Seal

          Dillon Simpson

          Joel Skidmore

          Jason Stewart




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           Demask Tate

           Lori Theriot

           Chad Thomas

           Jason Thornhill

           Raymond Uloth

           Melanie Varnado

           Robert Varnado

           Matthew Virdine

           Christian Weidie

           Jeremiah Wellman

           William White

           Jason Wilson

           Mark Wise

           Michelle Zemlik

       Anyone who has testified in this action.

       Anyone with knowledge of the existence or extent of the damages
        resulting from the Hollingsworth Richards, LLC’s acts and omissions.

       Anyone necessary to authenticate documents, electronically stored
        information (“ESI”), or tangible things in this action.

       Anyone necessary to offer testimony in rebuttal.

                               EXHIBIT LIST

       Documents, ESI, and tangible things produced by the parties in this
        action, including but not limited to:

           Employer Summary (EEOC0000002 et seq.)

           Email from Brandi Bourgeois to Doctor Review Service (July 31,
            2016) (EEOC0000004)



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          Prescription (EEOC0000005)

          Email from Google Calendar to Brandi Bourgeois (September 11,
           2016) (EEOC0000006 et seq.)

          Email from Brandi Bourgeois to Doctor Review Service (October 14,
           2016) (EEOC0000007)

          Prescription (EEOC0000008)

          Email from EEOC to Brandi Bourgeois (November 30, 2017)
           (EEOC0000009 et seq.)

          EEOC Seal (EEOC0000011)

          Email from Shwann Brignac to Brandi Bourgeois (November 8,
           2018) (EEOC0000012)

          Email from EEOC to Brandi Bourgeois (February 9, 2019)
           (EEOC0000013)

          EEOC Seal (EEOC0000014 et seq.)

          Drug Test Records (EEOC0000016 et seq.)

          Louisiana Workforce Commission Records (EEOC0000022 et seq.)

          Charge Detail Inquiry (EEOC0000046 et seq.)

          Document Log (EEOC0000050 et seq.)

          Notice of Conciliation Failure (EEOC0000052)

          Letter of Determination (EEOC0000053 et seq.)

          Notice of Charge of Discrimination (EEOC0000060 et seq.)

          Charge of Discrimination (EEOC0000064 et seq.)

          Letter from Jennifer Ortiz to Brandi Bourgeois (November 21,
           2016); Agreement to Mediate (EEOC0000066 et seq.)

          Drug Test Records (EEOC0000068 et seq.)

          Letter from Shwann Brignac to Brandi Bourgeois (November 13,
           2018) (EEOC0000073)

          Letter from Shwann Brignac to Brandi Bourgeois (October 3, 2018)


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           (EEOC0000074 et seq.)

          Intake Questionnaire (EEOC0000075)

          Letter from Shwann Brignac to Brandi Bourgeois (September 7,
           2018) (EEOC0000079)

          Intake Notes (EEOC0000080 et seq.)

          Employee File (EEOC0000083 et seq.)

          Employee Handbook (EEOC0000120 et seq.)

          Letter from Shwann Brignac to Laurie McCants (January 31, 2017)
           (EEOC0000154)

          Powersports Sales Trend Reports (EEOC0000155)

          Position Statement (EEOC0000156 et seq.)

          Public Portal Email Log (EEOC0000158)

          Email from Shwann Brignac to Brandi Bourgeois (November 8,
           2018) (EEOC0000159)

          Email from Shwann Brignac to Courtney Guillen (May 13, 2019)
           (EEOC0000160 et seq.)

          Email from Shwann Brignac to Courtney Guillen (May 13, 2019)
           (EEOC0000162)

          Email from Shwann Brignac to Brandi Bourgeois (November 13,
           2018) (EEOC0000163)

          Email from Shwann Brignac to Courtney Guillen (January 31,
           2017) (EEOC0000164)

          Letter from Shwann Brignac to Laurie McCants (January 31, 2017)
           (EEOC0000165)

          Email from Nancy Richardson to Shwann Brignac (May 14, 2019)
           (EEOC0000166 et seq.)

          Employer's Quarterly Federal Tax Return (EEOC0000168 et seq.)

          Electronic Contact Card (EEOC0000169)

          Electronic Contact Card (EEOC0000170)


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          Termination Form (EEOC0000171 et seq.)

          Email from Brandi Bourgeois to Shwann Brignac (November 13,
           2018) (EEOC0000176)

          Separation Notice (EEOC0000177)

          Interview Notes (EEOC0000178 et seq.)

          Drug Test Records (EEOC0001000)

          Payroll Summary (HR000001)

          Commission Sheets (HR000002 et seq.)

          Sales Trend Report (HR000005)

          Sales Trend Report (HR000006 et seq.)

          Sales Trend Report (HR000008 et seq.)

          Termination Checklist (HR000010 et seq.)

          Termination Form (HR000011 et seq.)

          AlwaysCare Terminate Member Confirmation (HR000015)

          Separation Notice (HR000016)

          Regarding Drug Test (HR000017)

          Notification of MRO Contact with Donor (HR000018)

          Negative Result (HR000019)

          Initial Drug Screen Result Form (HR000020)

          Non-Federal Four-Part Drug Testing Custody and Control Form
           (HR000021)

          Consent for Testing and/or Authorization to Release Information
           (HR000022)

          Application for Employment (HR000023 et seq.)

          Application for Employment (HR000027 et seq.)

          Sample Authorization Form Direct Deposit Authorization


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          Instructions for Employment Eligibility Verification (HR000070)

          Time Card Report (HR000075 et seq.)

          Chart (HR000103 et seq.)

          Application for Employment (HR000104 et seq.)

          Payroll Summary (HR000106 et seq.)

          Training History (HR000108 et seq.)

          Application for Employment (HR000111 et seq.)

          Payroll Summary (HR000113)

          Training History (HR000114 et seq.)

          Employment Application (HR000116 et seq.)

          Payroll Summary (HR000118)

          Training History (HR000119 et seq.)

          Employment Application (HR000121 et seq.)

          Payroll Summary (HR000123)

          Training History (HR000124 et seq.)

          Employment Application (HR000126)

          Resume (HR000127)

          Payroll Summary (HR000128)

          Training History (HR000129 et seq.)

          Employment Application (HR000131 et seq.)

          Payroll Summary (HR000133 et seq.)

          Training History (HR000135 et seq.)

          Employment Application (HR000137 et seq.)

          Payroll Summary (HR000139 et seq.)




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           Training History (HR000141 et seq.)

           Employment Application (HR000151 et seq.)

           Payroll Summary (HR000153)

           Application for Employment (HR000154 et seq.)

           Payroll Summary (HR000160)

           Training History (HR000161 et seq.)

           Application for Employment (HR000163 et seq.)

           Pre-Employment Inquiry Release (HR000165)

           Application for Employment (HR000166)

           Payroll Summary (HR000167)

           Training History (HR000168 et seq.)

           Employment Application (HR000170 et seq.)

           Payroll Summary (HR000172)

           Training History (HR000173 et seq.)

           Training History (HR000175 et seq.)

           Employment Application (HR000176)

           Driver's License (HR000177)

           Resume (HR000178 et seq.)

           Payroll Summary (HR000180)

           Employee Handbook (HR000181 et seq.)

           New Hire Pay Plan (HR000216)

           Commission Sheets (HR000217 et seq.)

           Time Card Records (HR000675 et seq.)

           Compli Summary (HR001246 et seq.)




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            Any record or transcript of testimony in this action.

            Any statements made by witnesses in this action.

            Documents, ESI, and tangible things related to the existence and
             extent of punitive damages, pecuniary and nonpecuniary compensatory
             damages, back pay, and front pay.

            Documents, ESI, and tangible things related to Hollingsworth
             Richards, LLC’s assets.

            Documents, ESI, and tangible things related to the number of persons
             Hollingsworth Richards, LLC employed between 2015 and the present.

      Respectfully submitted this 21st day of December, 2021.

                                              /s/ Andrew B. Kingsley
                                              Andrew B. Kingsley (Lead)
                                              U.S. Equal Employment Opportunity
                                              Commission
                                              New Orleans Field Office
                                              Hale Boggs Federal Building
                                              500 Poydras Street, Suite 809
                                              New Orleans, LA 70130
                                              Email: andrew.kingsley@eeoc.gov
                                              Phone: (504) 208-8661
                                              Louisiana Bar No. 35865

                                              COUNSEL FOR U.S. EQUAL EMPLOYMENT
                                              OPPORTUNITY COMMISSION

                              CERTIFICATE OF SERVICE

      I certify that counsel of record has been served with the forgoing via CM/ECF

on December 21, 2021.

                                              /s/ Andrew B. Kingsley
                                              Andrew B. Kingsley




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